       Case 1:17-cv-00376-KG-KBM Document 60 Filed 02/15/19 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

KERRY CUMMING,

       Plaintiff,

vs.                                                   Civ. No. 17-376 KG/KBM

QUESTA SCHOOL BOARD OF EDUCATION and
QUESTA INDEPENDENT SCHOOLS,

       Defendants.

               FINAL ORDER OF DISMISSAL AND SUMMARY JUDGMENT

       Plaintiff having voluntarily dismissed her claims against Defendant Questa Independent

Schools (Doc. 40) and the Court having granted Defendants’ Motion for Summary Judgment

(Doc. 36) by entering an order contemporaneously with this Final Order of Dismissal and

Summary Judgment,

       IT IS ORDERED that

       1. Plaintiff’s claims against Defendant Questa Independent Schools are dismissed with

prejudice;

       2. summary judgment is entered in favor of Defendant Questa School Board of

Education;

       3. Plaintiff’s claims against Defendant Questa School Board of Education are dismissed

with prejudice; and

       4. this lawsuit is now terminated in its entirety.




                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE
